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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                              Crim. File No. 12-295(2) (PAM/AJB)

                              Plaintiff,

v.                                                                                  ORDER

Julie Ann Campana,

                              Defendant.



      The above-entitled matter came on before the Court on the Defendant’s Motion for

an extension of time in which to object to the Pre-Sentencing Investigation Report.

Based on said motion, IT IS HEREBY ORDERED that:

      1.       The Defendant’s Motion (Docket No. 59) is GRANTED; and

      2.       The Defendant shall file any objections to the Pre-Sentence Investigation

               Report no later than June 4, 2013.



Dated: May 24, 2013
                                                    s/ Paul A. Magnuson
                                                    Paul A. Magnuson
                                                    United States District Court Judge
